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                United States Court of Appeals
                            FOR THE DISTRICT OF COLUMBIA CIRCUIT
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No. 22-3086                                                September Term, 2023
                                                                    1:21-cr-00670-CJN-1
                                                  Filed On: October 3, 2023 [2020174]
United States of America,

             Appellee

      v.

Stephen K. Bannon,

             Appellant

      BEFORE:      Pillard, Walker, and Garcia, Circuit Judges

                                        ORDER

     Upon consideration of appellee’s unopposed motion to reschedule oral
argument, it is

       ORDERED that the motion be granted. This case is hereby removed from the
court’s October 12, 2023 oral argument calendar and is rescheduled for oral argument
on Thursday, November 9, 2023, at 2:00 p.m.

                                       Per Curiam

                                                         FOR THE COURT:
                                                         Mark J. Langer, Clerk

                                                 BY:     /s/
                                                         Michael C. McGrail
                                                         Deputy Clerk
